887 F.2d 1080Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In re Patrick C. LYNN, Petitioner.
    No. 89-8009.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 31, 1989.Decided:  Sept. 22, 1989.
    
      Patrick C. Lynn, appellant pro se.
      Before WIDENER and K.K. HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Patrick C. Lynn, a South Carolina prisoner, has petitioned this Court for a writ of mandamus.  He complains of the district court's delay in ruling on his habeas corpus petition.  Based on our review of the district court's actions in this case, we find that there has been no undue delay which would warrant our intervention at this time.  We therefore deny the petition.  Leave to proceed in forma pauperis is granted.
    
    
      2
      PETITION DENIED.
    
    